                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:07CR63-W


UNITED STATES OF AMERICA,                         )
                                                  )         FINAL ORDER AND JUDGMENT
                v.                                )           CONFIRMING FORFEITURE
                                                  )
MEHMET OKUR                                       )



        On May 4, 2007, this Court entered a preliminary order of forfeiture pursuant to 21 U.S.C.

§853(n) and Fed. R. Crim. P. 32.2(b), based upon the defendant’s plea of guilty to Count One in the

bill of indictment. In that count, defendant was charged with conspiracy to violate 18 U.S.C.

§1028(a)(1) and §1028(a)(2), in violation of 18 U.S.C. §1028(f)..

        On August 14, 2007, the United States published in the Mecklenburg Times, a newspaper

of general circulation, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property in accordance with the law, and further notifying all third parties of their right to

petition the Court within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property. It appears from the record that no such petitions have been filed. Based on

the indictment notice and defendant’s consent, as set forth in his plea agreement, the Court finds, in

accordance with Rule 32.2(c)(2), that the defendant had an interest in the property that is forfeitable

under the applicable statute.

        It is therefore ORDERED:

        In accordance with Rule 32.2(c)(2), the preliminary order of forfeiture is confirmed as final.

All right, title, and interest in the following property, whether real, personal, or mixed, has therefore




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been forfeited to the United States for disposition according to law: $400 in United States currency

seized from the person of Mehmet Okur.

       IT IS SO ORDERED.

                                                 Signed: October 6, 2007




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